

Matter of Augustine (2020 NY Slip Op 05569)





Matter of Augustine


2020 NY Slip Op 05569


Decided on October 8, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 8, 2020

PM-132-20

[*1]In the Matter of Paul Joseph Augustine, an Attorney. (Attorney Registration No. 2608362.)

Calendar Date: October 5, 2020

Before: Garry, P.J., Egan Jr., Lynch, Aarons and Pritzker, JJ.


Paul Joseph Augustine, Boise, Idaho, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Paul Joseph Augustine was admitted to practice by this Court in 1994 and lists a business address in Boise, Idaho with the Office of Court Administration. Augustine now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion on Augustine's application.
Upon reading Augustine's affidavit sworn to April 21, 2020 and filed May 1, 2020, and upon reading the September 29, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Augustine is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Aarons and Pritzker, JJ., concur.
ORDERED that Paul Joseph Augustine's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Paul Joseph Augustine's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Paul Joseph Augustine is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Augustine is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Paul Joseph Augustine shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








